                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



MAX DAEE, et al.                                   )
                                                   )
v.                                                 )       NO. 3:13-1332
                                                   )      JUDGE TRAUGER
JPMORGAN CHASE BANK, N.A.                          )




                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 5/18/2016 as to the order entered 5/18/2016 at DE#125.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Dalaina Thompson, Deputy Clerk




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